      Case 4:07-cv-05944-JST Document 3172-1 Filed 12/05/14 Page 1 of 5




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   SHENZHEN SAMSUNG SDI CO., LTD. and
15 TIANJIN SAMSUNG SDI CO., LTD.

16
                                  UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN FRANCISCO DIVISION
19

20 IN RE: CATHODE RAY TUBE (CRT)                      Case No. 07-5944 SC
   ANTITRUST LITIGATION
21                                                    MDL No. 1917

22 This Document Relates to:
                                                      DECLARATION OF JAMES L.
23 Alfred H. Siegel, as Trustee of the Circuit City   MCGINNIS IN SUPPORT OF SDI
   Stores, Inc. Liquidating Trust v. Hitachi, Ltd.,   DEFENDANTS’ MOTION TO EXCLUDE
24 et al., No. 11-cv-05502;                           EXPERT TESTIMONY OF DR. STEPHAN
                                                      HAGGARD
25 CompuCom Systems, Inc. v. Hitachi, Ltd., et
   al., No. 11-cv-06396;
26
   Costco Wholesale Corporation v. Hitachi,
27 Ltd., et al., No. 11-cv-06397;

28 (CONTINUED ON NEXT PAGE)

     SMRH:434550013.1                   MCGINNIS DECLARATION IN SUPPORT OF SDI’S MOTION TO EXCLUDE HAGGARD
      Case 4:07-cv-05944-JST Document 3172-1 Filed 12/05/14 Page 2 of 5




 1 Dell Inc. and Dell Products L.P., v. Hitachi,
   Ltd., et al, No. 13-cv-02171;
 2
   Electrograph Systems, Inc. and Electrograph
 3 Technologies Corp., v. Hitachi, Ltd., et al.,
   No. 11-cv-01656;
 4
   Interbond Corporation of America v. Hitachi,
 5 Ltd., et al., No. 11-cv-06275;

 6 Office Depot, Inc. v. Hitachi Ltd., et al., No.
   11-cv-06276;
 7
   P.C. Richard & Son Long Island Corp., Marta
 8 Coooperative of Am., Inc., ABC Appliance,
   Inc. v. Hitachi, Ltd., et al., No. 12-cv-02648;
 9
   Schultze Agency Services, LLC, on behalf of
10 Tweeter Opco, LLC and Tweeter Newco, LLC
   v. Hitachi, Ltd., et al., No. 12-cv-02649;
11
   Sears, Roebuck and Co. and Kmart Corp. v.
12 Chunghwa Picture Tubes, Ltd., et al., No. 11-
   cv-05514;
13
   Target Corp. v. Chunghwa Picture Tubes,
14 Ltd., et al., No. 11-cv-05514;

15 Tech Data Corp and Tech Data Product
   Management, Inc., v. Hitachi, Ltd., et al., No.
16 13-cv-00157;

17 ViewSonic Corp. v. Chunghwa Picture Tubes,
   Ltd., et al., No. 14-02510..
18

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                        REDACTED VERSION OF DOCUMENT FILED UNDER SEAL
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     SMRH:434550013.1                   MCGINNIS DECLARATION IN SUPPORT OF SDI’S MOTION TO EXCLUDE HAGGARD
      Case 4:07-cv-05944-JST Document 3172-1 Filed 12/05/14 Page 3 of 5




 1           I, James L. McGinnis, declare as follows:

 2           1.         I am a partner at the law firm of Sheppard Mullin Richter & Hampton LLP, counsel

 3 of record for defendants Defendants Samsung SDI America, Inc.; Samsung SDI Co., Ltd.;

 4 Samsung SDI (Malaysia) SDN. Bhd.; Samsung SDI Mexico S.A. De C.V.; Samsung SDI Brasil

 5 Ltda.; Shenzen Samsung SDI Co., Ltd.; and Tianjin Samsung SDI Co., Ltd. (collectively, “SDI”).

 6 I submit this declaration in support of the SDI Defendants’ Motion to Exclude Expert Testimony

 7 of Dr. Stephan Haggard. I have personal knowledge of the facts set forth herein and, if called as a

 8 witness, I could and would competently testify thereto.

 9           2.         Attached hereto as Exhibit 1 is a true and correct copy of the April 15, 2014 expert

10 report of Dr. Stephan Haggard, the direct-action plaintiffs’ expert witness.

11           3.         Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the

12 transcript of the July 10, 2014 deposition of Dr. Stephan Haggard.

13

14                      I declare under penalty of perjury under the laws of the United States of America

15 that the foregoing is true and correct.

16                      Executed this 5th day of December 2014 in San Francisco, California.

17

18
                                                                 /s/ James L. McGinnis
19                                                                      James L. McGinnis

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     SMRH:435342700.1                        MCGINNIS DECLARATION IN SUPPORT OF SDI’S MOTION TO EXCLUDE HAGGARD
 Case 4:07-cv-05944-JST Document 3172-1 Filed 12/05/14 Page 4 of 5




              EXHIBIT 1
[SUBMITTED UNDER SEAL]
Case 4:07-cv-05944-JST Document 3172-1 Filed 12/05/14 Page 5 of 5
